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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                              )
D.V.D., et al.,                               )
                                              )
Individually and on behalf of all others      )
similarly situated,                           )
                                              )
                Plaintiffs,                   )      No. 1:25-cv-10676-BEM
                                              )      [PROPOSED] PROTECTIVE
        v.                                    )      ORDER FOR EXPEDITED
                                              )      DISCOVERY RELATED TO
U.S. Department of Homeland Security, et al., )      PLAINTIFF O.C.G. (ECF NO. 80)]
                                              )
                Defendants.                   )
                                              )
                                              )

1. PURPOSES AND LIMITATIONS

       On April 28, 2025, this Court ordered that the parties engage in certain limited discovery.

ECF No. 80 (“Order”). Therefore, the parties seek a limited protective order regarding compliance

with this Order. Compliance with the Order will involve disclosure of sensitive, confidential,

and/or private information for which special protection is warranted.

       Accordingly, to adequately and reasonably protect and preserve the confidentiality of such

information; to expedite the flow of information between the parties; and to serve the ends of

justice, a protective order for such confidential information is justified. As such, the parties hereby

stipulate to and petition the Court to enter the following Stipulated Protective Order. It does not

confer blanket protection on all information provided by Defendants to Plaintiffs; the protection it

affords from public disclosure and use extends only to the limited information or items that are

entitled to confidential treatment under the applicable legal principles, and it does not

presumptively entitle parties to file confidential information under seal.

2. “CONFIDENTIAL INFORMATION”

       “Confidential Information” shall include any information that is not publicly available and

qualifies for protection under applicable law, statutes or regulations, including, but not limited to:
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(1) the names, addresses, and alien registration number (“A number”) and any other personally

identifiable information covered by the Privacy Act, 5 U.S.C § 552a and identified in Federal Rule

of Civil Procedure 5.2; (2) any personally identifiable information related to third parties other

than the individual whose information is being sought; (3) names, phone numbers, and email

addresses of federal employees; (4) sensitive information about the internal investigations

processes, programs, procedures, staffing, resources, databases, intelligence and/or methods,

which is law enforcement sensitive, the release of which to the public may adversely impact

identifiable law enforcement or national security interests, this includes information compiled for

law enforcement purposes, including but not limited to investigative files and techniques related

to the integrity of the immigration system, criminal activity, public safety, or national security, and

investigative referrals; (5) information designated for Attorneys’ Eyes Only; and (6) any other

information protected or restricted from disclosure by state or federal statute or regulation,

including but not limited to 8 U.S.C. § 1367, which otherwise could subject either party to civil or

criminal penalties or other sanctions in the event of unauthorized disclosure. 1

        Documents designated as "ATTORNEYS EYES ONLY" for purposes of this Protective

Order shall include but not be limited to highly sensitive nonpublic information, the disclosure of

which could cause serious injury or damage to the parties.

        Notwithstanding the general limitations on disclosure to third parties set out in 8 C.F.R.

§§ 208.6 and 1208.6, this Court finds that the exceptions in 8 C.F.R. §§ 208.6(c)(2) and

1208.6(c)(2) apply and direct Defendants to provide the limited information necessary to be

disclosed to Plaintiffs to comply with the Court’s Order (ECF No. 80) in this case.

3. SCOPE


1
 The existence of this Stipulated Protective Order does not necessarily authorize or require the disclosure
of all or any information protected from disclosure by statute or regulation. Further, this Stipulated
Protective Order applies only to information necessary to comply with the Court’s April 28, 2025, Order,
and does not authorize or require broader disclosure to Plaintiffs.
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       This Stipulated Protective Order governs only disclosures undertaken to comply with the

Court’s Order in this case. See ECF No. 80. It does not apply to any other information or authorize

or require any broader disclosure.

       The protections conferred by this Stipulated Protective Order cover not only those portions

of such documents containing Confidential Information (as define above), but also (1) any

information copied or extracted from those portions of documents containing Confidential

Information; (2) all copies, excerpts, summaries, or compilations of Confidential Information; and

(3) any testimony, conversations, or presentations by parties or counsel that might reveal

Confidential Information.

       However, the protections conferred by this Stipulated Protective Order do not cover

information that is in the public domain or becomes part of the public domain. This Stipulated

Protective Order binds the parties and their respective agents, successors, personal representatives

and assignees.

4. ACCESS TO AND USE OF CONFIDENTIAL MATERIAL

4.1    Basic Principles.     Plaintiffs may use Confidential Information that is disclosed in

connection with the Final Order in this case, including all information derived therefrom (subject

to applicable rules of evidence and subject to the confidentiality of such information being

maintained) only for purposes of litigating this class action. Confidential Information may be

disclosed only to the categories of persons and under the conditions described in this Stipulated

Protective Order. Confidential Information must be stored and maintained by Plaintiffs at a

location and in a secure manner that ensures that access is limited to the persons authorized under

this Stipulated Protective Order. Nothing in this Order shall preclude the disclosure of Confidential

Information to the class member to whom the information pertains. This Order shall not preclude

Plaintiffs’ Counsel from using the information obtained from Defendants through discovery



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production, or otherwise, to contact current or former class members, their attorneys or family

members.

4.2    Disclosure of “Confidential” Information. Unless otherwise ordered by the Court or

permitted in writing by the Defendants, Plaintiffs may disclose any Confidential Information only

to:

       (a)    Plaintiffs’ Counsel in this action and any support staff and other employees of such

       counsel assisting in this action with an appropriate need to know., including O.C.G.’s

       immigration counsel with a G-28 on file with Immigration and Customs Enforcement or

       E-28 on file with the immigration court as of May 12, 2025, If any of Plaintiffs’ Counsel,

       support staff, or other employees cease to represent Plaintiffs’ in this action for any reason,

       such individual shall no longer have access to or be authorized to receive any Confidential

       Information;

       (b)    the Court, court personnel, and court reporters and their staff;

       (c)    parties;

       (d)    copy or data imaging services retained by counsel to assist in the duplication of

       Confidential Information, provided that counsel for the party retaining the copy or imaging

       service instructs the service not to disclose any Confidential Information to third parties

       and to immediately return all originals and copies of any Confidential Information and

       protect Confidential Information in accordance with provisions of this Stipulated

       Protective Order;

       (e)    the author or recipient of a document containing the Confidential Information or a

       custodian or other person who otherwise possessed or knew the Confidential Information;

       and

       (f)    any other person mutually authorized by the parties’ counsel to examine such

       information with an appropriate need to know;
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       .

       All persons listed in subparagraphs 4.2(d)-(f) to whom Confidential Information is

disclosed shall first be required to read the terms of this Stipulated Protective Order and sign a

copy of the Acknowledgment and Agreement to be Bound, attached hereto as EXHIBIT A.

Counsel for each party shall retain copies of the acknowledgment form for 120 days from the

conclusion of the litigation (including any appeals). This requirement does not apply to the

disclosure of Confidential Information to the Court and its personnel, including court reporters.

       Nothing in this Stipulated Protective Order supersedes existing independent statutory, law

enforcement, national security, or regulatory obligations imposed on a party, except as set forth

above, and this Stipulated Protective Order does not prohibit or absolve the Parties from complying

with such other obligations. This Stipulated Protective Order is limited to compliance with the

Court’s Order. See ECF No. 80.

4.3    Filing Confidential Information and Use of Confidential Information in Court Before filing

Confidential Information with the Court, discussing or referencing such material in court filings,

or using the Confidential Information in Court the filing party shall confer with the Defendants’

counsel (where practical, at least seven days prior to the intended date of use) to determine whether

Defendants’ counsel will remove the confidential designation, whether the document can be

redacted, or whether a motion to seal or stipulation and proposed order is warranted. Local Civil

Rule 83.6.11 sets forth the procedures that must be followed and the standards that will be applied

when a party seeks permission from the Court to file material under seal. The Parties will attempt,

to the extent possible, to minimize the volume of material that must be filed under seal.

4.4    Nothing in this Order precludes the disclosure of a document designated “Confidential,”

so long as the protected information is redacted.

5. DESIGNATING PROTECTED INFORMATION


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5.1    Exercise of Restraint and Care in Designating Material for Protection. Each party or non-

party that designates information or items for protection under this Stipulated Protective Order

must take care to limit any such designation to specific material that qualifies under the appropriate

standards. Defendants must designate for protection only those parts of material, documents, items,

or oral or written communications that qualify, so that other portions of the material, documents,

items, or communications for which protection is not warranted are not swept unjustifiably within

the ambit of this Stipulated Protective Order.

       If it comes to Defendants’ attention that information or items that they designated for

protection do not qualify for protection, Defendants must promptly notify all other parties that they

are withdrawing the mistaken designation.

5.2    Manner and Timing of Designations. Except as otherwise provided in this Stipulated

Protective Order or as otherwise stipulated or ordered, disclosure or discovery material that

qualifies for protection under this Stipulated Protective Order must be clearly so designated before

or when the material is disclosed. The Defendants must affix the word “CONFIDENTIAL” to

each page of paper or electronic document that contains Confidential Information.

5.3    Inadvertent Failures to Designate. If Defendants inadvertently fail to designate material as

Confidential Information at the time of production, they shall take reasonable steps to notify

Plaintiffs’ counsel of the failure within five (10) business days of discovering the failure.

Defendants shall promptly supply Plaintiffs with new copies of any documents bearing corrected

confidentiality designations, and Plaintiffs’ counsel shall return or destroy the original materials,

and certify in writing to the producing party that such information has been destroyed. Production

of such Confidential Information, in and of itself, shall not constitute waiver of any claim of

confidentiality.

6. CHALLENGING CONFIDENTIALITY DESIGNATIONS


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6.1    Timing of Challenges. Any party may challenge a designation of confidentiality at any

time. A party does not waive its right to challenge a confidentiality designation by electing not to

mount a challenge promptly after the original designation is disclosed.

6.2    Meet and Confer. The parties must make every attempt to resolve any dispute regarding

confidential designations without court involvement. Any motion regarding confidential

designations or for a protective order must include a certification, in the motion or in a declaration

or affidavit, that the movant has engaged in a good faith meet and confer conference with other

affected parties in an effort to resolve the dispute without court action. The certification must list

the date, manner, and participants to the conference.

6.3    Judicial Intervention. If the parties cannot resolve a challenge without court intervention,

the Defendants must file and serve a motion to retain confidentiality under Local Civil Rule 7 (and

in compliance with Local Civil Rule 83.6.11, if applicable) within three (5) business days of the

meet and confer. The burden of persuasion in any such motion shall be on the Defendants. All

parties shall continue to maintain the material in question as confidential until the court rules on

the challenge.

7. DEPOSITIONS

7.1    For testimony given during a deposition, the Defendants may designate a deposition or

portion of a deposition as “Confidential” by doing so on the record at the deposition or by

serving written notice of the page and line of the confidential deposition portions. Such

designations must be made within five (10) business days of receiving the final transcript. Until

the aforesaid period to designate the deposition has passed, (1) the entire transcript shall be

deemed as Confidential Information under the terms of this agreement and (2) any court filings

including information derived from any deposition shall be filed under seal in accordance with

the local rules unless otherwise agreed by the parties.



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8. PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER
   LITIGATION

        If a party is served with a subpoena or a court order issued in other litigation that compels

disclosure of any information or items designated in this action as “CONFIDENTIAL,” that party

must:

        (a)    promptly notify the other party in writing and include a copy of the subpoena or

        court order;

        (b)    promptly notify in writing the party who caused the subpoena or order to issue in

        the other litigation that some or all of the material covered by the subpoena or order is

        subject to this Stipulated Protective Order. Such notification shall include a copy of this

        agreement; and

        (d)    decline to produce the Confidential Information if an objection has been made until

        the objection has been resolved unless disclosure, dissemination, or transmission is

        required by law or court order. Any person, entity or organization who received

        Confidential Information shall abide by all terms and conditions set forth herein unless

        otherwise permitted by court order.

9. UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

        If Plaintiffs’ counsel learn that, by inadvertence or otherwise, they have disclosed

Confidential Information to any person or in any circumstance not authorized under this

agreement, Plaintiffs’ counsel must immediately (a) notify in writing Defendants’ counsel of the

unauthorized disclosure(s), (b) use their best efforts to retrieve all unauthorized copies of the

protected material, (c) inform the person or persons to whom unauthorized disclosures were made

of all the terms of this agreement, and (d) request that such person or persons execute the

“Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit A.

10. INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED
    MATERIAL
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       When Defendants give notice to Plaintiffs that certain inadvertently produced material is

subject to a claim of privilege or other protection, the obligations of the Plaintiffs are those set

forth in Federal Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to modify

whatever procedure may be established in an order that provides for production without prior

privilege review.

11. NON-TERMINATION AND RETURN OF DOCUMENTS

       Within 60 days after the termination of this action, including all appeals and any monitoring

agreed to or ordered, the Plaintiffs shall destroy all Confidential Information obtained and in their

possession, custody, or control, except as this Court may otherwise order. The parties shall agree

upon appropriate methods of destruction. Notwithstanding this provision, each entity serving as

counsel is entitled to retain one archival copy of all Confidential Information. The confidentiality

obligations imposed by this agreement shall remain in effect until Defendants agree otherwise in

writing or a court orders otherwise.

12. MISCELLANEOUS

12.1   Enforceability Upon Signing. By signing the Stipulated Protective Order, the parties agree

to be bound by its terms and until those terms are modified by order of the Court.

12.2   Right to Further Relief. Nothing in this Stipulated Protective Order abridges the right of

any party to seek its modification by the Court in the future.

12.3   Right to Assert Other Objections. By stipulating to entry of this Stipulated Protective

Order, no party waives any right it otherwise would have to object to disclosing or producing any

information or item on any ground not addressed in this Stipulated Protective Order.

                IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD




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IT IS SO ORDERED.


Dated:


__________________________

Honorable Brian E. Murphy
United States District Judge




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            EXHIBIT A




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                         STIPULATION EXHIBIT A
               ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

       I, ____________________________________ [print                 or     type    full    name],

of ____________________________________ [print or type full address], declare under penalty

of perjury that I have read in its entirety and understand the Stipulated Protective Order that was

issued in the case of D.V.D. v. DHS., pending in the District of Massachusetts and bearing Case

1:25-cv-10676-BEM. I agree to comply with and to be bound by all the terms of this Stipulated

Protective Order and I understand and acknowledge that failure to so comply could expose me to

sanctions and punishment in the nature of contempt. I solemnly promise that I will not disclose

in any manner any information or item that is subject to this Stipulated Protective Order to any

person or entity except in strict compliance with the provisions of this Order.

       I further agree to submit to the jurisdiction of the United States District Court for the

District of Massachusetts for the purpose of enforcing the terms of this Stipulated Protective

Order, even if such enforcement proceedings occur after termination of this action.



Date: _________________________

City and State where sworn and signed: _________________________

Printed name: _________________________

Signature: _________________________




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